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                       UNITED STATES DISTRICT COURT                          Eastern District of Kentucky
                                                                                      FIL.ED
                       EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION                                    FEB 27 2025
                                  LONDON                                              ATLONDON
                                                                                     Robert It Carr
                                                                              CLER!(U.S. DlSTR!C'!' CO!/l\T
UNITED STATES OF AMERICA


V.


STEVIE W. GREGORY, JR. and
JENNIFER A. COFFEY

                                      * * * * *
THE GRAND JURY CHARGES:


                                       COUNTl
                                     21 u.s.c. § 846

      On or about January 22, 2025, in Pulaski County, in the Eastern District of

Kentucky,

                           STEVIE W. GREGORY, JR. and
                              JENNIFER A. COFFEY

did knowingly and intentionally possess with the intent to distribute 50 grams or more of

a mixture or substance containing a detectable amount ofmethamphetamine, a Schedule II

controlled substance, all in violation of21 U.S.C. § 841(a)(l).

                                       COUNT2
                                     21 u.s.c. § 846

       On or about January 22, 2025, in Pulaski County, in the Eastern District of

Kentucky,
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                           STEVIE W. GREGORY, JR. and
                              JENNIFER A. COFFEY

did conspire with each other and others to knowingly and intentionally distribute 50

grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of21 U.S.C.

§ 84J(a)(l), all in violation of21 U.S.C. § 846.



                                                   A TRUE BILL
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                                     PENALTIES

Not less than 5 years and not more than 40 years of imprisonment, not more than a
$5,000,000 fine, and at least 4 years supervised release.

PLUS:        Mandat01y special assessment of$100 per count.
